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                       UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
          Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                     MOTION INFORMATION STATEMENT

Docket Number(s):    11-1197                                                                           Caption [use short title]

Motion for:   Independent Oral Argument                                         Cariou v. Prince, et al.
Set forth below precise, complete statement of relief sought:

Amicus Curiae The Andy Warhol Foundation for the
Visual Arts, Inc. seeks ten minutes of oral argument in
addition to the time alloted to the parties. See attached.

                  Amicus Curiae The Andy Warhol
MOVING PARTY: Foundation for the Visual Arts, Inc.                             OPPOSING PARTY:         Patrick Cariou, Richard Prince
      9 Plaintiff             9 Defendant
      9 Appellant/Petitioner  9 Appellee/Respondent

MOVING ATTORNEY:           Anthony T. Falzone                                   OPPOSING ATTORNEY: See attached.
                                                [name of attorney, with firm, address, phone number and e-mail]
Stanford Law School, Center for Internet and Society
559 Nathan Abbott Way, Stanford CA 94305
650-736-9050
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Court-Judge/Agency appealed from:     U.S. District Court for the Southern District of New York
Please check appropriate boxes:                                                FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                               INJUNCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):            Has request for relief been made below?               9 Yes 9 No
        9
        ✔
           Yes 9 No (explain):                                                 Has this relief been previously sought in this Court? 9 Yes 9 No
                                                                               Requested return date and explanation of emergency:
Opposing counsel’s position on motion:
        9 Unopposed 9✔ Opposed 9 Don’t Know
Does opposing counsel intend to file a response:
        9 Yes 9 No 9✔ Don’t Know

Is oral argument on motion requested?             9 Yes     9✔ No (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?                                             May 21, 2012
                                                   9✔ Yes 9 No If yes, enter date:__________________________________________________________

Signature of Moving Attorney:
___________________________________Date:
  /s/ Anthony T. Falzone                 4/16/12
                                         ___________________                   Has service been effected?    9✔ Yes    9 No [Attach proof of service]




                                                                          ORDER

IT IS HEREBY ORDERED THAT the motion is GRANTED DENIED.

                                                                                   FOR THE COURT:
                                                                                   CATHERINE O’HAGAN WOLFE, Clerk of Court

Date: _____________________________________________                            By: ________________________________________________



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UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT

--------------------------------------------------------   Appeal No. 11-1197-CV
Patrick Cariou,
                                                           On Appeal From the United
                     Plaintiff-Appellee,                   States District Court for the
                                                           Southern District of New York,
             v.                                            Civil Action No. 08-CV-11327
                                                           (DAB)
Richard Prince, et al.

                     Defendants-Appellants.
---------------------------------------------------------
    AMICUS CURIAE THE ANDY WARHOL FOUNDATION FOR THE
         VISUAL ARTS, INC.’S MOTION FOR INDEPENDENT ORAL
                                         ARGUMENT

       The Andy Warhol Foundation for the Visual Arts, Inc. (“The Warhol

Foundation”) respectfully moves this Court for ten minutes of oral argument as

amicus curiae in addition to the time allotted to the parties in order to address the

important public interests at stake in this case. Appellants Gagosian Gallery, Inc.

and Lawrence Gagosian consent. Appellant Richard Prince and Appellee Patrick

Cariou oppose.

       Founded upon Mr. Warhol’s death, the Foundation advances the visual arts

by promoting the creation, presentation and documentation of contemporary art. It

has made grants totaling more than $200 million to fund individual artists,

scholars, researchers, museums and other organizations, including The Andy

Warhol Museum. All of its work is premised upon the belief that art reflects an
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important cultural dialogue, and that freedom of artistic expression is fundamental

to a democratic society. While the Foundation generates substantial revenue from

the copyrights it owns, it uses that revenue to help fund its non-profit mission of

supporting contemporary art, including the work of many photographers. The

Warhol Foundation’s interest in this case is therefore the same as that of the public

at large: a balanced copyright system that recognizes the need to provide strong

economic incentives and the need to provide breathing room for artists who use

existing images to create new art.

      That balance is especially critical here. The artistic strategy of appropriating

and collaging pre-existing images is not unique to Appellant Richard Prince. It is

vitally important to contemporary art, and has origins dating back more than a

century, as illustrated by these important works, and others reproduced in The

Warhol Foundation’s brief:




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  Richard Hamilton, Just what is it that makes today’s
        homes so different, so appealing? (1956)
           Collage on paper; 10 1/4 x 9 3/4"




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         Robert Rauschenberg, Skyway (1964)
         Oil and silkscreen on canvas; 216 x 192"




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      Prince’s work participates in the same tradition:




              Richard Prince, Naked Confessions (2008), at A-259
               Collage, inkjet, and acrylic on canvas; 45 1/4 x 46"

      In granting summary judgment for Appellee Patrick Cariou, the district court

adopted a fair use standard that threatens this tradition, and is contrary to

controlling law. See Warhol Br. at 23-38. It refused to recognize any expressive

interest or transformative meaning other than parody or direct commentary, and

ignored the transformative meaning that is evident on the face of Prince’s work

because Prince failed to verbalize that meaning to the court’s satisfaction. If the

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district court’s decision is upheld, it will jeopardize important and well-established

modes of artistic expression, raise serious First Amendment concerns, and

ultimately impede far more creativity than it would promote, both in the visual arts

and beyond.

      This case implicates important public speech and expression interests that go

well beyond those of the parties involved, and the Warhol Foundation is uniquely

qualified to speak to those interests. As an organization that is dedicated to

supporting contemporary art in all of its forms, the Foundation can provide a

broader perspective on the issues this case presents and the impact it may have

across the spectrum of visual art.

                                     CONCLUSION

      For the reasons stated above, The Warhol Foundation requests ten minutes

of argument time in addition to the time allotted to the parties.

DATED: April 16, 2012                          /s/ Anthony T. Falzone
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